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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                         8:17CR154

       vs.
                                                                            ORDER
LAWRENCIA L. MERRICK,

                       Defendant.


       This matter is before the Court on Defendant’s Motion (Filing No. 86) in which she seeks to
have the assistance of Pretrial Services in screening her for a drug treatment program. In reviewing
the motion, it appears that the filing does not include a substance abuse evaluation or a letter of
acceptance from a proposed treatment program accompanied by a statement of the program’s
requirements. Additionally, the Court finds that the motion does not set out the respective positions
of Probation and Pretrial Services and the Government. For all of these reasons, the motion will be
denied without hearing. Upon consideration,
       IT IS ORDERED:
       1.      Defendant’s Motion (Filing No. 86) is denied without prejudice to the refiling of a
motion that sets out an appropriate release plan in accordance with the recommendations of a
substance abuse evaluation. If appointed under the Criminal Justice Act, counsel may submit a
voucher request for expert services required in obtaining an evaluation.
       2.      Future motions for reconsideration of detention shall be filed as restricted with an
attached substance abuse evaluation and a letter of acceptance from the proposed treatment program
accompanied by a statement of the program’s requirements.
       3.      Additionally, all motions for reconsideration of detention shall contain a statement as
to the respective positions of Probation and Pretrial Services and the Government.


       Dated this 29th day of September, 2017.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
